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                                  ATTACHMENT A

        1.    Restitution From Mail Fraud Proceeds

        The initial deposits received from the insurance companies as a result of

  the mail fraud establish the amount of restitution owed. As of April 18, 2017, all

  the life insurance proceeds were deposited into facilitating account number 30-

  9515. As described below, these funds were transferred to other accounts

  and/or used to obtain assets.

        Genworth Life and Annuity Insurance Company paid out $44,533.88 from

  policy number 1308458 on January 31, 2017, to Defendant’s Vanguard Fund

  facilitating account number 30-9515. (Gov. Exhibits 300 and 309).

        AAA Life Insurance Company paid out $200,000.00 from policy number

  GT8107 on March 22, 2017, to Defendant’s Vanguard Fund facilitating account

  30-9515. (Gov. Exhibits 306 and 311).

        Fidelity Life Insurance Association paid out $100,973.41 from policy

  number 0100382288 on March 22, 2017, to Defendant’s Vanguard Fund

  facilitating account 30-9515. (Gov. Exhibits 305 and 311).

        Ameritas Life Insurance Corp. paid out $1,003,049.90 from policy number

  T00017578A on April 5, 2017, to Defendant’s Vanguard Fund facilitating account

  30-9515. (Gov. Exhibits 307 and 312).

        Ameritas Life Insurance Corp. paid out $751,849.32 from policy number

  U00013758A on April 5, 2017, to Defendant’s Vanguard Fund facilitating account

  30-9515. (Gov. Exhibits 308 and 312).

                                           1
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        Great West Life Annuity Insurance Company paid out $1,000,157.54 from

  policy number 0104 TLP on March 16, 2017, to Defendant’s Vanguard Fund

  facilitating account 30-5266. (Gov. Exhibits 304 1 and 310).

        Metlife Insurance Company 2 paid out $772,901.17 from policy number

  215150755 UT on March 16, 2017, to Defendant’s Vanguard Fund facilitating

  account 30-5266. (Gov. Exhibits 301 and 310).

        TransAmerica Life Insurance Company paid out $503,438.85 from policy

  number 42728878 on March 16, 2017, to Defendant’s Vanguard Fund facilitating

  account 30-5266. (Gov. Exhibits 302 and 310).

        TransAmerica Life Insurance Company paid out $500,840.86 from policy

  number 42186233 on March 16, 2017, to Defendant’s Vanguard Fund facilitating

  account 30-5266. (Gov. Exhibits 303 and 310).

        The total amount of proceeds Defendant Rudolph received as a result of

  his mail fraud was $4,877,744.93. (Exhibits 1 and 2). The above-described

  losses are the direct and proximate result of the Defendant’s mail fraud.

  Accordingly, Defendant should be ordered to pay restitution to each victim listed




  1
    Government Exhibit 304 is the copy of the check issued by Great-West Life &
  Annuity Insurance Company to The Rudolph Trust in the amount of
  $1,000,157.54. It was produced in discovery and identified as Bates
  VANG_00000702. It was referred to at trial but was not offered into evidence, for
  clarity of the record, it will be referred to in this Motion as Gov. Exhibit 304.
  2
    The check is made out by Brighthouse Life Insurance Company. Brighthouse
  was created by Metlife Insurance Company on March 6, 2017.
                                           2
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  above in the full amount of each victims’ loss, for a total Count 2 restitution

  amount of $4,877,744.93. 3

        2.     Forfeiture From Mail Fraud Proceeds

        The Defendant transferred the $4,877,749.93 proceeds obtained from the

  insurance companies to various bank accounts. He then used some of the

  proceeds to put towards the purchase of two properties – one in Arizona and one

  in Pennsylvania – and two vehicles – an Aston Martin and a Bentley Bentayga.

  The remaining funds had been deposited in/transferred to three different bank

  accounts at the time they were seized.

               A.     Balance in Facilitating Vanguard Account 30-9515 Upon
                      Receipt of Insurance Proceeds.

        Defendant Rudolph was the sole account holder of Vanguard facilitating

  account 30-9515. Prior to the deposits of life insurance proceeds into facilitating

  account 30-9515, the balance in the account was $413,035.35. This amount was

  the “untainted” balance in the account. The insurance proceeds are the “tainted”

  funds. While both types of funds were in this, and later other accounts, they

  accrued interests, dividends, and appreciation. The United States has

  apportioned the earned interests, dividends, and appreciation based on the

  percentage of untainted and tainted funds in the account.


  3
     Victim impact statements are still pending at the time of the filing of this Motion.
  To the extent that any of the restitution should be paid to someone other than the
  life insurance companies, the United States will attempt to resolve the issue prior
  to sentencing and will notify the Court accordingly. The amount of restitution will
  not be affected by the designation of the payee.
                                             3
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        The United States has used a “proceeds first” approach to trace the

  proceeds in this matter. The “proceeds first” approach means that criminal

  proceeds that are commingled with other funds in one account and then moved

  to another assumes that the criminal proceeds were the first ones transferred out

  of the account. United States v. Banco Cafetero Panama, 797 F.2d 1154, 1158-

  1162 (2d Cir. 1986).

        The United States used the “proceeds first approach in its tracing of the

  tainted funds with the following exceptions: 1) funds that passed through an

  account in short proximity from the time of deposit and the intent of the funds was

  clear that it was meant as a pass-through transaction; 4 2) funds transferred to

  and from Camelback Consulting Marketing LLC’s account, Wells Fargo account

  5688139749 (hereinafter WF 9749) as that was primarily a business account;

  and 3) the portion of funds applied to the purchase of the 2017 Bentley

  Bentayga, as these funds exhausted the tainted funds and the Defendant closed

  facilitating account 30-9515 after this transfer.

        From the time period of January 31, 2017, with the deposit of the

  insurance proceeds from Genworth Life, until the final insurance deposit from

  Great West Life on April 18, 2017, facilitating account 30-9515 had other


  4
   There were two primary examples of this: funds acquired from the sale of the
  Miami, Florida residence that were passed through and applied to the
  construction of the Arizona residence, and $500,000.00 transferred into Bank of
  New York Mellon account 0005173568 from one of Defendant’s Morgan Stanley
  accounts was wired out to Global Escrow Solutions LLC for the purchase of the
  condo in San Jose del Cabo, Mexico, in a short period of time
                                             4
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  transactions in and out of the account that included income from the untainted

  funds of $126,653.99 and tainted funds of $1,426.50 (from interest); and

  withdrawals from untainted of $78,500.00 5 and from tainted of $37,668.92. That

  made the account balances after all the life insurance proceeds had been

  deposited on April 18, 2017, $5,305,961.24, of which $4,841,271.89 was tainted.

  Untainted                Tainted                   Balance
  $464,689.35              $4,841,271.89             $5,305,961.24       (Exhibit 3).

              B.     Proceeds Account Bank of New York Mellon 1000.

        Facilitating account 30-9515 had various transactions in and out of it

  involving untainted and tainted funds. On June 13, 2017, the Defendant received

  a deposit of $297,562.98 from the sale of a property in Miami, Florida into

  facilitating account 30-9515. On the same day, a transfer in the amount of

  $105,000.00 was paid out to VPR Builders, LLC towards the construction of the

  Arizona residence. These would be considered untainted funds, as it was

  considered a pass-through transaction, and the untainted balance in the account

  was then $634,332.95.

        Up to August 9, 2017, facilitating account 30-9515 had additional

  withdrawals and deposits related to untainted funds. On August 8, 2017,

  Defendant Rudolph transferred $3,000,000.00 of tainted funds to an account at

  Bank of New York Mellon account 10532701000 (herein after “BNYM proceeds



  5
   All of these funds were transferred to Camelback Consulting’s Wells Fargo
  account 9749.
                                           5
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  account 1000”) 6, which posted the deposit on August 9, 2017. Prior to that

  transfer, the balance in the account was zero. These funds were used to secure

  a construction loan from Bank of New York Mellon for the Arizona property. The

  balances in facilitating account 30-9515 on that day were:

  Untainted                Tainted                  Balance
  $640, 458.01             $1,857,283.48            $2,497,741.50       (Exhibit 4).

        Activity in BNYM proceeds account 1000 from August 9, 2017, until May

  31, 2021, included the following transactions:

        Bank and advisory fees                            $ 36,764.88
        Transfers to BNYM account 3568 7                  $150,000.00
        Mortgage payments 8                               $ 9,656.36
        Payment on condo in Mexico 9                      $100,000.00
        Transfer to Wells Fargo account 2446 10           $200,000.00
        Transfer to Morgan Stanley account 408-235 11     $ 51,000.00
        Total withdrawal from account                     $547,421.24

  BNYM proceeds account 1000 appreciated $1,229,537.38 from August 9, 2017,

  until May 31, 2021. On December 21, 2021, the United States seized the




  6
    Defendant Rudolph was the sole account holder of BNYM proceeds account
  1000.
  7
    These transfers occurred on two dates – April 24, 2019, for $70,000.00 and on
  January 21, 2020, for $80,000.00. The funds were used to make mortgage
  payments towards the construction of 7000 N. 39th Place, Paradise Valley,
  Arizona. As of May 3, 2021, $99,082.90 of the $150,000.00 had been applied as
  mortgage payments.
  8
    Mortgage payment for 7000 N. 39th Place, Paradise Valley, Arizona.
  9
    Payment for condo in San Jose del Cabo, Mexico.
  10
     Funds applied to the purchase of 103 Morningside Drive, Cranberry Township,
  Pennsylvania.
  11
     Funds applied to the construction of 7000 N. 39th Place, Paradise Valley,
  Arizona.
                                           6
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  entirety of the account, which was entirely proceeds from the mail fraud, it had a

  balance of $3,496,092.04 of tainted funds. (Exhibit 5).

                C.    Proceeds Used For Construction of Proceeds Property
                      Located at 7000 N. 39th Place, Paradise Valley, Arizona.

          On August 30, 2017, the Defendant made a payment from facilitating

  account 30-9515 of $1,154,739.79 to Fidelity National Title towards the

  construction of the Arizona property. There were $192,562.98 in untainted funds

  remaining from the sale of the Miami residence that were applied to the payment,

  and the rest consisted of $962,176.41 in tainted funds. After some other

  withdrawals, the balances in facilitating account 30-9515 12 on August 30, 2017,

  were:

  Untainted                 Tainted                  Balance
  $437,895.03               $895,107.14              $1,333,002.17        (Exhibit 6).

                D.    Defendant Transfers Funds From Vanguard Facilitating
                      Account 30-9515 To Six Different Vanguard Accounts.

          From August 30, 2017, to February 2, 2018, there were several

  transactions involving facilitating account 30-9515, of significance were: a

  January 2, 2018, payment of a credit card bill of $15,000.00 – using the

  “proceeds first” approach this amount was applied to tainted funds; on February

  1, 2018, the Defendant transferred $500,000.00 into facilitating account 30-9515

  from WF 9749, which was associated with the Defendant’s business, Camelback



  12
    Interest and dividend payments into the account were attributed based on the
  percentage of untainted and tainted funds in the account.
                                           7
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  Consulting Marketing, LLC; the Defendant transferred a net $80,000.00 from

  facilitating account 30-9515 to WF 9749; and he received $20,000.00 in

  franchising fees into facilitating account 30-9515. The balances in facilitating

  account 30-9515 on February 1, 2018, were:

  Untainted                 Tainted                   Balance
  $880,918.78               $886,741.72               $1,767,660.50        (Exhibit 7).

        On February 2, 2018, the Defendant engaged in moving money from

  facilitating account 30-9515 to six different Vanguard accounts. All six of these

  accounts were in the name of Lawrence P. Rudolph Trust. Five of these

  accounts were merely used to facilitate the movement of the proceeds, one of

  the accounts, Vanguard account 585-9515, consisted entirely of proceeds and

  was later seized by the United States.

                     i.     Facilitating Vanguard Account 569-9515.

        Facilitating account 569-9515 was opened and had a zero balance on

  February 1, 2018. On February 2, 2018, the Defendant transferred $195,000.00

  of tainted funds from facilitating account 30-9515 to Vanguard account 569-9515.

                     ii.    Facilitating Vanguard Account 584-9515.

        Facilitating account 584-9515 was opened and had a zero balance on

  February 1, 2018. On February 2, 2018, the Defendant transferred $157,500.00

  of tainted funds from facilitating account 30-9515 to Vanguard account 584-9515.




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                     iii.   Facilitating Vanguard Account 511-9515.

          Facilitating account 511-9515 was opened and had a zero balance on

  February 1, 2018. On February 2, 2018, the Defendant transferred $52,500.00

  of tainted funds from facilitating account 30-9515 to Vanguard account 511-9515.

                     iv.    Facilitating Vanguard Account 1945-9515.

          Facilitating account 1945-9515 was opened and had a zero balance on

  February 1, 2018. On February 2, 2018, the Defendant transferred $26,250.00

  of tainted funds from facilitating account 30-9515 to Vanguard account 1945-

  9515.

                     v.     Facilitating Vanguard Account 1946-9515.

          Facilitating account 1946-9515 was opened and had a zero balance on

  February 1, 2018. On February 2, 2018, the Defendant transferred $26,250.00

  of tainted funds from facilitating account 30-9515 to Vanguard account 1946-

  9515.

                     vi.    Proceeds Vanguard Account 585-9515.

          Vanguard proceeds account #0585-88150069515 (hereinafter “proceeds

  account 585-9515”) was opened and had a zero balance on February 1, 2018.

  On February 2, 2018, the Defendant transferred $292,500.00 of tainted funds

  from facilitating account 30-9515 to Vanguard proceeds account 585-9515. The

  entirety of this account, $527,736.24, was seized by the United States on

  December 21, 2021.



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        The total amount of tainted funds transferred out of facilitating account 30-

  9515 on February 2, 2018, was $750,000.00. (Exhibit 8). After all six of these

  transfers, the balances in facilitating account 30-9515 on February 2, 2018, were:

  Untainted                Tainted                   Balance
  $880,918.78              $136,741.72               $1,017,660.50        (Exhibit 7).

              E.     Proceeds Vanguard Account 540-9515.

        Defendant Rudolph had opened Vanguard proceeds account #0540-

  88150069515 (hereinafter “proceeds account 540-9515”) in the name of

  Lawrence P. Rudolph and Bianca T. Rudolph Trust. The balance in that account

  on April 16, 2019, was $785,091.12. The Defendant made four transfers into

  proceeds account 540-9515 from four of the facilitating accounts he had opened

  on February 2, 2018.

                     i.    Facilitating Vanguard Account 569-9515.

        From February 2, 2018, until April 16, 2019, there were no additional

  deposits into facilitating account 569-9515. On April 16, 2019, the Defendant

  transferred $179,000.00 of tainted funds from facilitating account 569-9515 to

  proceeds account 540-9515.

                     ii.   Facilitating Vanguard Account 584-9515.

        From February 2, 2018, until April 16, 2019, there were no additional

  deposits into facilitating account 569-9515. On April 16, 2019, the Defendant

  transferred $161,000.00 of tainted funds from facilitating account 584-9515 to

  proceeds account 540-9515.


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                     iii.   Facilitating Vanguard Account 511-9515.

        From February 2, 2018, until April 16, 2019, there were no additional

  deposits into facilitating account 511-9515. On April 16, 2019, the Defendant

  transferred $52,869.00 of tainted funds from facilitating account 511-9515 to

  proceeds account 540-9515.

                     iv.    Facilitating Vanguard Account 1945-9515.

        From February 2, 2018, until April 16, 2019, there were no additional

  deposits into facilitating account 1945-9515. On April 16, 2019, the Defendant

  transferred $24,000.00 of tainted funds from facilitating account 1945-9515 to

  proceeds account 540-9515.

        The total amount of tainted funds transferred into proceeds account 540-

  9515 on April 16, 2019, was $416,869.00. The balance in proceeds account

  540-9515 after these transfers was:

  Untainted                 Tainted                 Balance
  $786,124.23               $416,869.00             $1,203,993.23        (Exhibit 9).

              F.     Proceeds 2018 Aston Martin DB-11.

        On March 1, 2018, the Defendant purchased a 2018 Aston Martin DB-11,

  VIN SCFRMFAV5JGL03309. The purchase price was $239,000.00. On March

  1, 2018, the Defendant paid $125,000.00 of tainted funds from facilitating

  account 30-9515 to Bentley of Scottsdale for the down payment on the Aston

  Martin. The Defendant financed $105,111.32 for the purchase. The percentage




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  of tainted versus untainted funds is 52% tainted ($125,000.00) to 48% untainted

  ($1.5,111.32).

        After the funds were transferred for the purchase of the Aston Martin, there

  were only $11,910.21 in tainted funds remaining in facilitating account 30-9515.

  (Exhibit 10). On March 13, 2018, the Defendant made a credit card payment of

  $16,500.00. Taking the proceeds first approach, and applying the remainder of

  the tainted money, the balances in facilitating account 30-9515 after this payment

  on March 13, 2018, were:

  Untainted                Tainted                  Balance
  $877,414.47              -0-                      $877,414.47        (Exhibit 10).

              G.     Defendant Transfers Funds From Five Facilitating Vanguard
                     Accounts Back To Facilitating Account 30-9515.

        The Defendant then transferred tainted life insurance proceeds back into

  facilitating account 30-9515 on January 7, 2021, from four facilitating Vanguard

  accounts he had previously moved money to.

                     i.    Facilitating Vanguard Account 584-9515.

        From February 2, 2018, until January 7, 2021, there were no additional

  deposits into facilitating account 584-9515. On January 7, 2021, the Defendant

  transferred $3,444.72 of tainted funds from facilitating account 584-9515 to

  facilitating account 30-9515. After the Defendant made this transfer, he closed

  this account.




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                     ii.    Facilitating Vanguard Account 511-9515.

        From February 2, 2018, until January 7, 2021, there were no additional

  deposits into facilitating account 511-9515. On January 7, 2021, the Defendant

  transferred a net $3,235.14 of tainted funds from facilitating account 511-9515 to

  facilitating account 30-9515. After the Defendant made this transfer, he closed

  this account.

                     iii.   Facilitating Vanguard Account 1945-9515.

        From February 2, 2018, until January 7, 2021, there were no additional

  deposits into facilitating account 1945-9515. On January 7, 2021, the Defendant

  transferred $3,606.30 of tainted funds from facilitating account 1945-9515 to

  facilitating account 30-9515. After the Defendant made this transfer, he closed

  this account.

                     iv.    Facilitating Vanguard Account 1946-9515.

        From February 2, 2018, until January 7, 2021, there were no additional

  deposits into facilitating account 1946-9515. On January 7, 2021, the Defendant

  transferred $32,437.46 of tainted funds from facilitating account 1946-9515 to

  facilitating account 30-9515. After the Defendant made this transfer, he closed

  this account.

        The total amount of tainted funds transferred back into facilitating account

  30-9515 on January 7, 2021, from the five Vanguard Funds Defendant had

  previously moved money to was $42,723.62 of tainted life insurance proceeds.



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  The balances in facilitating account 30-9515 after these transfers on January 7,

  2021, were:

  Untainted                Tainted                   Balance
  $418,968.94              $42,723.62                $461,692.56        (Exhibit 11).

                H.   Proceeds 2017 Bentley Bentayga.

         On April 20, 2021, the Defendant purchased a 2017 Bentley Bentayga,

  VIN SJAAC2ZV2HC014709. The Defendant paid $162,390.58 to Bentley of

  Scottsdale on April 26, 2021. On April 20, 2021, the Defendant wrote himself a

  check in the amount of $150,000.00 from facilitating account 30-9515 and

  deposited into WF 9749 to be applied to the purchase of the Bentley Bentayga.

  The Defendant applied the remaining $42,724.68 in tainted funds and

  $107,275.32 of untainted funds to the purchase of the vehicle. The percentage

  of tainted versus untainted funds is 26.31% tainted to 73.69% untainted. (Exhibit

  12).

         The purchase of the Bentley Bentayga consumed the remainder of the

  tainted funds in facilitating account 30-9515, leaving an untainted balance in

  facilitating account 30-9515 of $286,703.57. On April 27, 2021, the Defendant

  transferred the $286,703.57 from facilitating account 30-9515 to Vanguard

  account 45-9515 and closed out facilitating account 30-9515.




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               I.    Proceeds Vanguard Account 540-9515.

        On January 7, 2021, the Defendant also transferred $4,657.57 of tainted

  funds from facilitating account 569-9515 to proceeds account 540-9515. After

  the Defendant made this transfer, he closed facilitating account 569-9515.

        The total tainted funds transferred into proceeds account 540-9515 from

  the four facilitating accounts was $421,526.57. (Exhibit 13). From January 7,

  2021, until August 31, 2021, there were no additional deposits into proceeds

  account 540-9515. On August 31, 2021, there was a balance in the account of

  $2,158,786.68, of which $751,776.28 were tainted funds. On December 21,

  2021, pursuant to a seizure warrant, the United States seized $751,776.28 from

  proceeds account 540-9515 as proceeds of the conviction in Count 2, mail fraud,

  leaving the remaining $1,407,010.40 in the account. (Exhibit 13).

               J.    Proceeds Vanguard Account 585-9515.

        From January 7, 2021, until August 31, 2021, there were no additional

  deposits made into proceeds account 585-9515. On August 31, 2021, there was

  a balance in the account of $513,203.57, consisting entirely of tainted funds. On

  December 21, 2021, pursuant to a seizure warrant, the United States seized all

  funds in proceeds account 585-9515 - $527,736.24 - as proceeds of the

  conviction in Count 2, mail fraud. (Exhibit 14).




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               K.     Proceeds Property Located At 7000 N. 39th Place, Paradise
                      Valley, Arizona. 13

        The approximate total amount paid by the Defendant for the construction

  of the residence at 7000 N. 39th Place, Paradise Valley, Arizona up to May 31,

  2021, is $1,910,109.82. The Defendant used $1,121,915.61 of tainted funds and

  $788,194.21 in untainted funds to pay for the construction. The percentage of

  tainted versus untainted funds used to that time was 58.74% tainted to 41.16%

  untainted. Accordingly, 58.74% of the net proceeds from the sale of the property

  are subject to forfeiture. (Exhibit 15).

               L      Proceeds Property Located At 103 Morningside Drive,
                      Cranberry Township, Pennsylvania.

        The approximate amount paid by the Defendant for the residence at 103

  Morningside Drive, Cranberry Township, Pennsylvania up to October 1, 2020,

  was $1,812,500.00. On September 28, 2000, the Defendant transferred

  $200,000.00 of tainted funds from proceeds account BNYM 1000 to another

  Wells Fargo account, number 3615742446 (hereinafter “facilitating account WF

  2446”). He also transferred $50,000.00 in untainted funds from facilitating

  account WF 9749 and $150,000.00 in untainted funds from facilitating account

  30-9515 into facilitating account WF 2446. The Defendant used $199,970.00 of

  tainted funds and $195,603.69 of untainted to pay for the down payment and

  closing costs of the property. The percentage of tainted versus untainted funds


   The figures used are based on information known to the United States through
  13

  May 31, 2021, as those were the last financial statements reviewed.
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  is 50.55% tainted to 49.45% untainted. Accordingly, 50.55% of the net proceeds

  from the sale of the property are subject to forfeiture. (Exhibit 16).

        The Defendant immediately entered into a rental agreement wherein he

  was paid $11,000.00 a month beginning on October 26, 2020, after receiving an

  initial payment of $22,000.00 – consistent with the first and last month’s rent.

  Therefore, the rental income, which was used to pay the mortgage, would have

  increased the equity in the property and as such would be divided at the same

  rate as the tainted to untainted rate used to make the down payment.

  (Exhibit 16).




                                            17
